               Case: 11-1009             Document: 4        Page: 1   Filed: 10/22/2010


                                                                                                 Form 8

FORM 8. Entry of Appearance

   UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
               Soverain Software, LLC                v. Newegg Inc.
               ----------~------------


                                               No. 2011 -1oog

                                        ENTRY OF APPEARANCE                                   2 2010
  (INSTRUCTIONS: Counsel should refer to Federal ~ircuit Rules 47.3 ...Pro se B~tjtioJ:il~r.s 1 ~nd , 1
  appellants should read paragraphs 1 and 18 of the Gut de for Pro Se PetitiOners arl1 v 'Rpeham::;~P~ a.s
  File this form with the clerk within 14 days of the date of docketing and serve a copyOofii !Orf h'~ rUit
  principal attorney for each party.)
  Please enter my appearance (select one):
          c::::::::JPro Se          I .t lAs counsel for:       Newegg Inc.
                                                                Name of party
  I am, or the party I represent is (select one):
          c=JPetitioner c=JRespondent c=JArnicus curiae c=Jcro;;.s Ao.nelSLED
                                                        - - u.S. COURTOFAPPEA S FOR
          I .t !Appellant c=]Appellee c=]Intervenor                THE FEDERAL Cl IT
  As amicus curiae or intervenor, this party supports (select one):
                                                                                           OCT 2 2 20 0
          c::J.Petitioner or appellant        c=JRespondent or appellee
  My address and telephone are:                                                             JAN HORBALY
        Name:                 Kent E. Baldauf, Jr.                                             CLERK
        Law firm :            The Webb Law Firm
        Address:              700 Koppers Building, 436 Seventh Avenue
        City, State and ZIP: Pittsburgh, PA 15219
        Telephone:            (412) 471-8815
        Fax#:                 (412) 471-4094
        E-mail address:       kbaldaufjr@webblaw.com
                              ~~~=-~~~----------------------------
  Statement to be completed by counsel only (select one):
          c::z:J I am the principal attorney for this party in this case and will accept all service
          for the party. I agree to inform all other counsel in this case of the matters
          served upon me.
          c=J I am replacing                     as the principal attorney who will/will not
          remain on the case. [Government attorneys only.]
          c::J I am not the principal attorney for this party in this case.
  Date admitted to Federal Circuit bar (counsel only): _91_5_12_oo_o_______
  This is my first appearance before the United States Court of Appeals for the Federal Circuit
  (counsel only):
          c=JYes             I .t INo
  c=JA courtroom accessible to the handicapped is requir5 9oral argument is scheduled.

   lo/d-\/2DrD                                                  ~ . / ~~
          Date                                              Signature of prose
   cc:

                                                                                                       123
